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     [additional counsel listed on signature page]
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13                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
14                                   SAN FRANCISCO DIVISION
15    In re Cathode Ray Tube (CRT) Antitrust          Master File No. 3:07-md-05944-SC
      Litigation
16                                                    MDL No. 1917
17   This Document Relates To:                        CERTAIN DIRECT ACTION
                                                      PLAINTIFFS’ ADMINISTRATIVE
18    Electrograph Systems, Inc., et al. v.           MOTION TO SEAL PORTIONS OF
      Technicolor SA, et al., No. 13-cv-05724-SC;     AMENDED COMPLAINTS PURSUANT
19                                                    TO CIVIL LOCAL RULES 7-11 AND 79-
      Interbond Corporation of America v.             5(d)
20    Technicolor SA, et al., No. 13-cv-05727-SC;

21    Office Depot, Inc. v. Technicolor SA, et al.,
      No. 13-cv-05726-SC;
22
      P.C. Richard & Son Long Island Corporation,
23    et al. v. Technicolor SA, et al., No. 13-cv-
      05725-SC;
24
      Schultze Agency Services, LLC v.
25    Technicolor SA, et al., No. 13-cv-05668-SC

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     CERTAIN DIRECT ACTION PLAINTIFFS’                                    Master File No. 3:07-md-05944-SC
     ADMINISTRATIVE MOTION TO SEAL
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 1           Pursuant to Civil Local Rules 7-11 and 79-5(d), Plaintiffs Electrograph Systems, Inc. and
 2   Electrograph Technologies Corp. (“Electrograph”), Interbond Corporation of America
 3   (“BrandsMart”), Office Depot, Inc. (“Office Depot”), P.C. Richard & Son Long Island
 4   Corporation (“P.C. Richard”), MARTA Cooperative of America, Inc. (“MARTA”), ABC
 5   Appliance, Inc. (“ABC Warehouse”), and Schultze Agency Services, LLC (“Tweeter”)
 6   (collectively, “Plaintiffs”) hereby respectfully submit this administrative motion for an order
 7   permitting Plaintiffs to file under seal the highlighted portions of the following documents:
 8              Electrograph’s First Amended Complaint;
 9              BrandsMart’s First Amended Complaint;
10              Office Depot’s First Amended Complaint;
11              P.C. Richard’s, MARTA’s, and ABC Warehouse’s First Amended Complaint; and
12              Tweeter’s First Amended Complaint.
13           Plaintiffs submit this application as the parties wishing to file documents referencing,
14   containing, or analyzing, in whole or in part, the documents described above. Plaintiffs attach
15   hereto the Declaration of Philip J. Iovieno in support of this application. See Civ. L.R. 79-5(e).
16           Plaintiffs request that the highlighted portions of their respective Complaints be filed
17   under seal pursuant to Civil Local Rule 79-5(d) because they refer to and contain excerpts of
18   documents and testimony that have been designated “confidential” or “highly confidential”
19   pursuant to the Stipulated Protective Order entered in this litigation [Dkt. 306, June 18, 2008]
20   (“Stipulated Protective Order”). The confidential/highly confidential designations have been
21   made by certain of the defendants in this litigation. To qualify under the Stipulated Protective
22   Order as “confidential” or “highly confidential,” information must contain trade secrets or other
23   confidential research, development or commercial information or other private or competitively
24   sensitive information. Stipulated Protective Order at ¶ 1.
25           Plaintiffs seek to file the above material under seal in good faith in order to comply with
26   the Protective Order in this action and the applicable Local Rules. Because certain defendants
27   contend that the material they have designated is confidential in nature, it is their burden to
28   establish that the designated information is sealable. Civil L.R. 79-5(e); see Kamakana v. City of

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 1   Honolulu, 447 F.3d 1172, 1178-80 (9th Cir. 2006). Plaintiffs leave it to this Court’s discretion to
 2   determine whether the above material should be filed under seal.          Courts have repeatedly
 3   emphasized that a party must make a “particularized showing of good cause” and show a
 4   “compelling reason” to justify the sealing of motions and papers filed with a court. See Foliz v.
 5   State Farm Mutual Auto. Ins. Co., 331 F.3d 1122, 1138 (9th Cir. 2002) (reversing a lower court’s
 6   sealing of records because there was no “compelling reason to justify sealing” under the
 7   protective order). As the Ninth Circuit has stated, the “hazard of stipulated protective orders” is
 8   that they “often contain provisions that purport to put the entire litigation under lock and key
 9   without regard to the actual requirements of Rule 26(c).” Kamakana, 447 F.3d at 1193.
10   Plaintiffs file this administrative motion in order to comply with the Protective Order entered in
11   this action.
12           Plaintiffs are filing herewith redacted copies of their respective Complaints, in
13   accordance with Civil Local Rule 79-5. Plaintiffs are also filing herewith under seal unredacted
14   versions of their respective Amended Complaints, which indicate by highlighting the portions of
15   the Amended Complaints that have been omitted from the redacted version due to “confidential”
16   or “highly confidential” designations.
17           Contemporaneous with the filing of this administrative motion, Plaintiffs are giving
18   notice to the defendants in the CRT Antitrust MDL of this motion and of the Amended
19   Complaints to be filed in this case. Plaintiffs’ request is narrowly tailored to include the sealing
20   of only the information that may require confidentiality, pursuant to the provisions of the
21   Stipulated Protective Order.
22           Accordingly, Plaintiffs request that the court grant this Administrative Motion to Seal
23   Portions of their Amended Complaints.
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     DATED: December 20, 2013            /s/ Philip J. Iovieno
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17                                       America, Inc., ABC Appliance, Inc., and Schultze
                                         Agency Services, LLC
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